            Appellate Case: 23-1135               Document: 102            Date Filed: 01/25/2024            Page: 1

                                 Custody Status Questionnaire

&DVH1XPEHUDQG&DSWLRQ 23-1135, Griffith v. El Paso County, et al.

I am the attorney of record for Darlene Griffith
                                                                   [name of party represented]


My client presently is:

             Released on Secured Bond Pending Appeal.

             Released on Recognizance (or Unsecured Bond) Pending Appeal.

             Incarcerated in a Federal Prison as a result of:

            Choose one:

            Incarcerated in some other Federal Correctional Facility as a result of:

            Choose one:

        ✔ Incarcerated in a State Penitentiary as a result of:
            Choose one: Some other offense

            Incarcerated in Local Jail as a result of:

            Choose one:

            On Parole or Other Conditional Release as a result of:

            Choose one:

    Other / Explain




   Date   01/25/2024                                   Signature   /s/ Devi Rao


7KLVIRUPPXVWEHILOHGE\FRXQVHOIRUWKHGHIHQGDQWLQDGLUHFWFULPLQDODSSHDO LQFOXGLQJLQWHUORFXWRU\DSSHDOVUHJDUGOHVVRI
ZKLFKSDUW\ILOHGWKHDSSHDO FRXQVHOIRUWKHSHWLWLRQHULQDKDEHDVFRUSXVRULPPLJUDWLRQDSSHDORUFRXQVHOIRUDQ\DSSHOODQW
RUDSSHOOHHZKRLVLQFXVWRG\LQDQ\RWKHUDSSHDO7KLVIRUPPXVWEHILOHGHYHQLIWKHFDVHKDVEHHQVXEPLWWHGRQWKHEULHIV,I
WKHSDUW\LVSURVHWKHIRUPQHHGQRWEHVXEPLWWHG

For questions, you can contact the calendar team at:
Phone: 303335-2708
(PDLOWKB&LUFXLWB&DOWHDP#FDXVFRXUWVJRY
                                                                                        &6 Custody Status Questionnaire - 
